             Case 6:19-cv-00021-SEH Document 10 Filed 03/29/19 Page 1 of 2




                                                                               3/29/2019
                     IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF MONTANA

                                 HELENA DIVISION

 PRODUCE SUPPLY EXPRESS,
 INC.,
                                                  No. CV 19-21-H-SEH
                             Plaintiff,

 vs.                                              ORDER

 NRC ENVIRONMENTAL
 SERVICES INC., and KENNETH
 CLARK,

                            Defendants.

       On March 28, 2019, the Court ordered a show cause hearing to resolve

diversity jurisdiction concerns. 1 On March 29, 2019, the parties filed a Stipulation

for Remand. 2

       ORDERED:

       The show cause hearing set for April 5, 2019, is VA CATED. This case is

REMANDED to the First Judicial District Court, Lewis and Clark County. The


       l   See Doc. 8.
       2
           Doc. 9.

                                          -1-
        Case 6:19-cv-00021-SEH Document 10 Filed 03/29/19 Page 2 of 2



Clerk is directed to trans~e file to the state court and close the case.

      DATED this   _,aj__ day of March, 2019.



                                             United States District Court




                                       -2-
